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O AO 472 (Rev. 12/03) Order of Detention Pending Trial




                                     UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF MICHIGAN
                                            NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                        CASE NO: 05-CR-20030-01-BC

CHRISTOPHER DARNELL GRIFFIN
                           /



                                  ORDER OF DETENTION PENDING TRIAL

       In accordance with § 3142(f) of the Bail Reform Act, a detention hearing has been
held. I conclude that the following facts require the detention of the defendant pending trial in
this case.

Part I: Findings of Fact

         Does not apply.

                                  Alternative Findings (A)
       (1)    There is probable cause to believe that the defendant has committed an offense
for which a maximum term of imprisonment of ten years or more is prescribed
in the Controlled Substances Act.

      (2)     The defendant has not rebutted the presumption established by finding 1 that
no condition or combination of conditions will reasonably assure the appearance of the
defendant as required and the safety of the community.

                                   Alternative Findings (B)
      There is a serious risk that the defendant will endanger the safety of another person or
the community.

Part II: Written Statement of Reasons for Detention

         The Government moves for detention pursuant to 18 U.S.C. § 3142, and argues

that the presumption in favor of detention applies. As this defendant faces at least ten

years potential custody for alleged violations of the Controlled Substances Act, I agree

that the presumption applies. Therefore, I am required to consider whether or not

there is sufficient evidence to rebut the presumption in light of the factors set forth

under 18 U.S.C. § 3142(g).
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      As to the factors set forth in § 3142(g)(1) and (g)(2), I find that the offense

charged involves a narcotic drug, specifically cocaine. I find that from the grand jury

having passed an Indictment there is probable cause as to this defendant. In so

ruling, I agree with defense counsel’s argument that the fact that an indictment is filed

does not, by itself, mandate a finding of detention nor, a finding that there is, at this

stage of the proceedings, clear and convincing evidence against this defendant.

      As to the factors set forth in § 3142(g)(3), I note that the defendant was born

and raised in Arkansas, and moved to Michigan in 1997. Defense counsel proffers

that the defendant lives in the Detroit area, as does his mother, siblings, and other

relatives. The defendant has been unemployed for approximately 2 to

2½ years. Prior to that, he was employed for a 2 year period as a laborer.

      The defendant’s criminal history indicates a misdemeanor possession of

controlled substances conviction in Tennessee. Defense counsel proffers that the

defendant made all required appearances for that case. The government proffers that

there was a failure to appear in that matter. I note that there is no subsequent criminal

history for this defendant.

      During the defendant’s initial processing by Pretrial Services, drug screening

was positive for cocaine and marijuana. Defense counsel contests the positive finding

for cocaine.

      Defense counsel proffers that there are family members with whom defendant

could reside. While not wishing to impugn the veracity of counsel’s statements, and

while making no finding as to whether or not the defendant was forthcoming at his

initial interview, Pretrial Services has thus far been completely unable to verify the

presence of defendant’s family, their residence, the defendant’s present residence, or

the willingness of other family members to take in the defendant or supervise him as a
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       third party custodian. As a result, I cannot conclude that defense counsel’s currently

       unsubstantiated proffer is sufficient to rebut the presumption in favor of detention

       made on this record. Accordingly, I am forced to conclude that the presumption has

       not been rebutted. Therefore, the government’s motion to detain is GRANTED.

       Part III: Directions Regarding Detention

              The defendant is committed to the custody of the Attorney General or his designated

       representative for confinement in a corrections facility separate, to the extent practicable, from

       persons awaiting or serving sentences or being held in custody pending appeal. The defendant

       shall be afforded a reasonable opportunity for private consultation with defense counsel. On

       order of a court of the United States or on request of an attorney for the Government, the person

       in charge of the corrections facility shall deliver the defendant to the United States marshal for

       the purpose of an appearance in connection with a court proceeding.




                                                           s/   Charles E Binder
                                                                       `


                                                          CHARLES E. BINDER
       Dated: July 14, 2005                               United States Magistrate Judge



                                                CERTIFICATION

        I hereby certify that this Order was electronically filed this date, electronically served on Janet Parker,
and served on Daniel Blank, District Judge Lawson, the U.S. Marshal’s Service and Pretrial Services in the
traditional manner.


Date: July 14, 2005                        By    s/Jean L. Broucek
                                           Case Manager to Magistrate Judge Binder
